                      UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          STATESVILLE DIVISION

   UNITED STATES OF AMERICA     )        DOCKET NO. 5:12-CR-49-1
                                )
         vs.                    )        VOLUME IV
                                )
   MARTIN MARTINEZ SALDANA,     )
                                )
              Defendant.        )
   _____________________________)

                    TRANSCRIPT OF TRIAL PROCEEDINGS
                BEFORE THE HONORABLE RICHARD L. VOORHEES
                   UNITED STATES DISTRICT COURT JUDGE
                             MARCH 7, 2014

   APPEARANCES:
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                     Cheryl A. Nuccio, RPR, RMR, CRR
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                       United States District Court
                        Charlotte, North Carolina




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1                            P R O C E E D I N G S
2    FRIDAY MORNING, MARCH 7, 2014
3               (Court called to order at 10:22 a.m.       Defendant and
4    jury not present.)
5               THE COURT:    Good morning.
6               ALL COUNSEL:    Good morning, Your Honor.
7               THE COURT:    So we're in session.     We have 12 of the
8    14 jurors here so we could start after we finish this charge
9    conference, assuming we don't -- well, we'll be able to start
10   in any event, but we hope the other regular jurors get here if
11   we have -- I believe number 2 and number 6 have not arrived.
12              One issue the clerk brought to my attention, there
13   were -- Government's Exhibit 19 is a copy of the aerial photo
14   of the Saldana property on Ervin Houck Drive.        The question is
15   whether the marked versions are suitable for going back to the
16   jury as Exhibit 19 in hard copy.      Any objection?
17              MR. FORRESTER:    Your Honor, is there any way we can
18   have the defendant out here because he might have greater
19   insight.
20              THE COURT:    Let's get him out here.
21              (Defendant entered the courtroom.)
22              MR. FORRESTER:    No problems, Your Honor.
23              THE COURT:    All right.   Thank you.
24              THE CLERK:    There's one other one.     Do I need to
25   show that one too?    There's two.




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1                THE COURT:   So there are three, Madam Clerk?
2                THE CLERK:   One was without any markings and 19A and
3    19B had markings on them.
4                THE COURT:   All right.    19 is clear of any markings
5    and the other two have the markings.       So let them go back.
6                THE CLERK:   Okay.
7                THE COURT:   Now, have the parties reviewed the
8    verdict sheet?    The only change to the one we had yesterday
9    was to express issue three in terms of two different -- two
10   different aspects of the statute under which the defendant
11   could be found guilty.
12               MR. CANALES:   We have no issues, Your Honor.
13               THE COURT:   All right.    Then as to the instructions
14   themselves, as to count two, we added some language.         Has to
15   do with unanimity concerning which firearm or firearms were
16   involved.    I have it as page 51.     It's a page entitled
17   "Firearm Defined."    And the last sentence we added and propose
18   to you, it says, "However, the jury need not be unanimous as
19   to which firearm or firearms, if any, were so possessed."
20               MR. FORRESTER:   Yes, Your Honor, that is true
21   because I'm looking at U.S. v. Perry, 560 F.3d 246.         There is
22   authority for that.
23               THE COURT:   Yes, sir.    All right.   Thank you.
24               Then on count five, the elements are stated on page
25   58.   And you'll notice, of course, that we added the last




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1    sentence indicating that the second and third elements are
2    expressed either/or and that you could have a conviction if
3    either element or both are satisfied.       Any comment about that?
4               MR. KAUFMAN:    Your Honor, the only -- I had
5    discussed with counsel the possibility of instead of having
6    four stated elements with the or being between two and three,
7    the possibility of having three elements where what are
8    currently two and three becoming 2A or 2B.        But I think that
9    may be more of an issue for the defense.        I just wanted to
10   raise the fact that I did discuss it with counsel and I'll
11   defer.   If that's what they would prefer, I would join them in
12   that.    If they want it as is, that's fine for the United
13   States as well.
14              THE COURT:    All right.   It seems to me that what we
15   have here now is the same as if we called it 2A and 2B.
16              MR. CANALES:    We're satisfied, Judge.      We have no
17   issues of any kind.
18              THE COURT:    All right.   Thank you.
19              So we have -- we haven't had two more jurors come
20   in, have we?
21              CSO BROWN:    No, we just have 12.
22              THE COURT:    Have we heard from them at all?
23              THE CLERK:    I think the lady may be trying to make
24   it.   I have not reached Mr. Sharpe, juror 6.       I've called his
25   house and no one answers.     He lives in Statesville, so...




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1                She might be on her way.     I don't know if you want
2    to wait a few more minutes or -- the two alternates are here.
3                THE COURT:   Yeah.
4                THE CLERK:   Jurors 2 and 6 are the ones that are
5    missing.
6                THE COURT:   All right.   The clerk informs me that
7    the two jurors missing, as I said before, are number 2 and
8    number 6.    So that would be Kathy Bowles.      She's number 2.
9    And she is from Alexander County.      Teacher assistant.     It says
10   Taylorsville, but she tells our clerk that she's from Vashti
11   which is near Taylorsville.      And we think she is likely on her
12   way, but we don't know positively.       She told us earlier that
13   she knew she could be here by 12:00 and we told her to come on
14   as soon as she could do so safely.
15               Now, juror number 6 is from Statesville.       My only --
16   that's Charles Mitche Sharpe.      And he's referred to as a
17   supervisor under the employment column.       But you may recall
18   him.   And we have had no contact from him and the clerk has
19   tried to call his numbers that we have for him and there's
20   been no response and no contact made.       So if that's -- the
21   parties are okay with using the alternates, we can go ahead on
22   that basis or we could wait a little longer to see if one or
23   both of these people show up.
24               MR. CANALES:   Your Honor, I would like to see if we
25   can give it a little bit longer given the weather.




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1               THE COURT:    All right, sir.    So we'll be in recess
2    at this point.    We'll check with you again about 11:00 unless
3    there's a development in the meantime.
4               Let's talk about the possibility of forfeiture if
5    there is a conviction.     Would it -- I believe the government
6    has sent an email asking the parties whether they would want,
7    assuming there is a conviction, for the forfeiture aspect of
8    the indictment to go forward to the jury or to the court or by
9    consent.
10              MR. CANALES:    May I have a second, Judge?
11              THE COURT:    Yes, sir, take the time you need.
12              (Counsel and defendant conferred.)
13              MR. CANALES:    Your Honor, if I may, Judge?
14              THE COURT:    Wait just one second.
15              MR. CANALES:    Yes, sir.
16              THE COURT:    Okay.   Madam Clerk.
17              THE CLERK:    I couldn't get an answer.
18              THE COURT:    Was that number 6?
19              MR. CANALES:    I left a message.
20              THE COURT:    Okay.   Thank you.
21              Yes, sir.
22              MR. CANALES:    Judge, after speaking to my client,
23   he's got a decision as to who he wants to decide about the
24   forfeiture, but I ask the court to ask him so he can express
25   his wishes to the court.




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1               THE COURT:    All right.   Yes, sir.
2               MR. CANALES:    The court wants to know as far as the
3    issue of forfeiture, do you want the jury to decide what's
4    going to happen to the property, meaning the three real estate
5    properties, any -- or any and all properties that have been
6    subject to forfeiture, I believe there are four properties,
7    and also I believe there's the weapons as well, any real
8    estate or real -- any real property or personal property
9    that's the subject of forfeiture, the ones you have been given
10   notice on, do you want the judge or the jury to decide?
11              THE DEFENDANT (Interpreter):      The judge.
12              MR. CANALES:    And this is for -- you decided the
13   judge after you've had a conference with both me and -- me and
14   you.
15              THE DEFENDANT (Interpreter):      Yes.
16              MR. CANALES:    He'd like the judge to make the
17   decision on forfeiture, Your Honor.
18              THE COURT:    All right.   So I take it, Mr. Saldana,
19   you have talked to your attorneys about the possibilities
20   here.   One would be that you might essentially agree to
21   forfeiture by consent and that would be the end of it.            Or if,
22   on the other hand, you would rather have the jury decide the
23   matter, we could let the jury decide it.        Or we could have the
24   judge decide it.    And is that -- is that your understanding
25   that those are the options that are available here?




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1               THE DEFENDANT (Interpreter):      Yes.
2               THE COURT:    And according to what your attorney just
3    said, is it your decision to let the judge decide that issue?
4               THE DEFENDANT (Interpreter):      Yes.
5               THE COURT:    All right, sir.    Very well.
6               MR. CANALES:    And for the record, so he can
7    understand as well, he's not consenting to lose the
8    properties, Judge.    Just make it clear to him.
9               THE COURT:    Very well.   Thank you.
10              All right.    So we'll be in recess until we have some
11   new jurors arrive, but we'll be back in session at 11:00.
12              (Brief recess at 10:39 a.m.)
13              (Jury not present.)
14              THE COURT:    All right.   Court is -- we're back in
15   open session and it appears the parties have agreed to go
16   forward with the first 12 jurors who are here which is
17   actually 11, missing number 6, and that the first alternate
18   would be put in place of number 6 and we'd go forward on that.
19              MR. CANALES:    That's correct, Judge.
20              MR. KAUFMAN:    Yes, Your Honor.
21              THE COURT:    All right.   And the -- if we hear from
22   number 6, we'll tell him to go on and not come in.
23              MR. CANALES:    Yes, Your Honor.
24              THE COURT:    For the record, we had a brief
25   conference in chambers addressing the issue of going forward




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1    with the first 12 jurors minus the one missing and using
2    alternate number 1 and counsel agreed to do that.
3               Anything else to be put on the record about that
4    conference?
5               MR. FORRESTER:    No, Your Honor.
6               MR. KAUFMAN:    No, Your Honor.
7               THE COURT:    All right.   So we'll bring the jury in.
8    The court would give them the last part of the instructions
9    beginning at page 29 and then they'll begin deliberating.
10   Thank you.
11              May we have the jury, please.
12              THE CLERK:    Do you want juror 13 to sit in this
13   seat?
14              THE COURT:    Yes.
15              (Jury entered the courtroom.)
16              THE COURT:    Good morning, members of the jury.
17              THE JURY:    Good morning.
18              THE COURT:    Thank you all for coming here this
19   morning on less than ideal circumstances.        I hope you were
20   reasonably comfortable in negotiating the roads as they stand.
21              Now, then, we'll go ahead with the jury instructions
22   as I said we would do yesterday.      I'll read to you the charges
23   as we go through them one at a time, there are three charges,
24   the statutes under which the charges were brought and the
25   essential elements or essential facts of each charge that the




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1    government would have to prove to have a conviction.
2              You will have a copy of the bill of indictment with
3    you in the jury room if you wish to consult with it at that
4    time.
5              The first count -- and I remind you, of course, that
6    an indictment is not evidence.      It's only an accusation.      The
7    first count alleges that from in or about 2001 (sic) to the
8    present, and the indictment was stamp filed August 2nd, 2013,
9    so that's what the present was at the time.
10             From in or about 2011 to the present, in Ashe
11   County, within the Western District of North Carolina, and
12   elsewhere, the defendant, Martin Martinez Saldana, did
13   knowingly and intentionally conspire and agree with each
14   other, and with other persons known and unknown to the grand
15   jury, to distribute and to possess with intent to distribute
16   controlled substances, that is, a mixture and substance
17   containing a detectable amount of methamphetamine, a Schedule
18   II controlled substance, all in violation of Title 21, Section
19   841(a)(1).
20             It further alleges that said offense involved at
21   least 50 grams of methamphetamine and at least 500 grams of a
22   mixture and substance containing a detectable amount of
23   methamphetamine.
24             Now, you'll note that the indictment charges that
25   the offense and each of these offenses will have been charged




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1    as being committed on or about or within a certain date or
2    dates.   The proof need not establish with certainty the exact
3    date of the alleged offense.     It is sufficient if the evidence
4    in the case establishes beyond a reasonable doubt that the
5    offense in question was committed on a date reasonably near
6    the date or dates alleged.
7              In count one the defendant's charges come under
8    Section 846 which reads as follows:
9              Any person who conspires to commit any offense
10   defined in this subchapter shall be subjected to the same
11   penalties as those prescribed for the offense, the commission
12   of which was the object of the conspiracy.
13             Now, one of the offenses defined in the subchapter
14   reads as follows:
15             It shall be unlawful for any person knowingly or
16   intentionally to possess with intent to distribute or dispense
17   a controlled substance.
18             For you to find the defendant guilty of the offense
19   charged in count one, the government must prove the following
20   essential elements beyond a reasonable doubt before there
21   could be a conviction of this charge.
22             For your information, the first essential element
23   has to do with the existence of a conspiracy; the second with
24   the membership in a conspiracy; third, the alleged object of a
25   conspiracy; and lastly, the fourth one has to do with




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1    defendant's knowledge.
2              More particularly, here are the essential elements
3    the government must prove beyond a reasonable doubt before
4    there could be a conviction.
5              A, that the conspiracy described in the bill of
6    indictment was an agreement or understanding between two or
7    more persons, that the conspiracy was willfully formed, and
8    that it was existing at the time alleged in the bill of
9    indictment.
10             Second, that at some time during the existence or
11   life of the conspiracy, the defendant knew the purpose of the
12   agreement or understanding and willfully joined the
13   conspiracy.
14             Third, that the object of the conspiracy was to
15   violate the Federal Controlled Substances Act by way of
16   possessing with the intent to distribute a Schedule II
17   controlled substance, at least 50 grams of methamphetamine, at
18   least 500 grams of a mixture and substance containing a
19   detectable amount of methamphetamine.
20             And lastly, that the defendant knew the substance
21   involved in the conspiracy as described in the bill of
22   indictment was a controlled substance.
23             So I'll give you some definitions of terms used in
24   the essential elements.    You would apply these definitions as
25   you consider the evidence.     And if I do not define certain




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1    words, you would assign to them their ordinary, everyday
2    meanings.
3                A criminal conspiracy is an agreement or a mutual
4    understanding knowingly made or knowingly entered into by at
5    least two people to violate the law by some joint or common
6    plan or course of action.     A conspiracy is, in a very true
7    sense, a partnership in crime.      A conspiracy or agreement to
8    violate the law, like any other agreement or understanding,
9    need not be formal, written or even expressed directly in
10   every detail.
11               To prove the existence of a conspiracy or an illegal
12   agreement, the government is not required to produce a written
13   contract between the parties or even produce evidence of an
14   express oral agreement spelling out all the details of the
15   understanding.    Moreover, to prove that a conspiracy existed,
16   the government is not required to prove or show that all the
17   people named in the indictment as members of the conspiracy
18   were, in fact, parties to the original agreement, or that all
19   of the members of the alleged conspiracy were named or
20   charged, or that all of the people whom the evidence showed
21   were actually members of a conspiracy agreed to all of the
22   means or methods set out in the indictment.
23               Instead, the government must prove that the
24   defendant and at least one other person knowingly and
25   deliberately arrived at an agreement or understanding that




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1    they, and perhaps others, would violate the law by some means
2    of common plan or course of action as alleged in count one.
3    It is proof of this conscious understanding and deliberate
4    agreement by the alleged members that should be central to
5    your consideration of the charge of conspiracy.        Unless the
6    government proves beyond a reasonable doubt that a conspiracy
7    as just explained actually existed, then you must acquit the
8    defendant of count one.
9              Now, if you should conclude that the conspiracy did
10   exist as alleged in the indictment, you should next determine
11   whether the defendant knowingly and willfully became a member
12   of the conspiracy.    Before the jury may find that the
13   defendant or any other person became a member of the
14   conspiracy as charged in count one, the evidence must show
15   beyond a reasonable doubt that defendant knew the purpose or
16   goal of the agreement or understanding and deliberately
17   entered into the agreement intending in some way to accomplish
18   the goal or purpose of this common plan.
19             If the evidence establishes beyond a reasonable
20   doubt that the defendant knowingly and deliberately entered
21   into an agreement to possess with the intent to distribute
22   methamphetamine, the fact that the defendant did not join the
23   agreement at its beginning, or did not know all the details of
24   the agreement, or did not play a major role in accomplishing
25   the unlawful goal is not important to your decision regarding




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1    membership in the conspiracy.
2              On the other hand, certain things do not taken alone
3    make someone a member of a conspiracy.       Merely associating
4    with others and discussing common goals, mere similarity of
5    conduct between or among such persons, merely being present at
6    the place where the crime took place or is discussed, or even
7    knowing about criminal conduct does not by itself make someone
8    a member of a conspiracy.
9              If you concluded that the conspiracy did exist as
10   alleged and that defendant knowingly and willfully became a
11   member of it, you should next determine whether or not an
12   objective or goal of the alleged conspiracy was to possess
13   with the intent to distribute the drug as alleged.
14             Now, basically, what you are determining in this
15   regard is whether the conspirators intended to possess this
16   drug for their own use or whether they intended to possess the
17   drug for later sale or transfer.      Often it's possible to make
18   this determination from the quantity of drugs involved.           An
19   intent to distribute or transfer may be inferred, for example,
20   where the quantity of drugs discovered was greater than that
21   which would be used for personal consumption.        Ultimately, the
22   government must prove beyond a reasonable doubt that a
23   conspiracy was willfully formed and had as its purpose the
24   possession with intent to distribute methamphetamine.         You
25   should make your determination as to the purpose of the




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1    conspiracy from all the evidence presented.
2                Keep in mind that there may be a conviction as to
3    this conspiracy count even though the conspirators may not
4    have succeeded in accomplishing their common object or purpose
5    in some way or ways and, in fact, may have failed in
6    accomplishing it.
7                I'll define the word "possession."      It comes up in
8    count one and several -- a couple of the other counts also.
9    Here it comes up where the government alleges a conspiracy to
10   possess methamphetamine with the intent to distribute.
11               The word "possess" means to own or exert control
12   over.   The word "possession" can take on several but related
13   meanings.
14               The law recognizes two kinds of possession, actual
15   possession and constructive possession.       A person who
16   knowingly has direct physical control over a thing at a given
17   time is then in actual possession of it.       A person who,
18   although not in actual possession, knowingly has both the
19   power and the intention at a given time to exercise dominion
20   or control over a thing either directly or through another
21   person or persons is then in constructive possession of it.
22               The law also recognizes that possession may be sole
23   or joint.    If one person alone has actual or constructive
24   possession of a thing, then possession is sole.        If two or
25   more persons share actual or constructive possession of a




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1    thing, then possession is joint.
2              You may find that the element of possession as that
3    term is used in these instructions is present if you find
4    beyond a reasonable doubt that the possession in question was
5    actual or constructive possession, either alone or jointly
6    with others.
7              The phrase "with intent to distribute" means to have
8    in mind or to plan in some way to deliver or transfer
9    possession or control over a thing to someone else.         In
10   attempting to determine the intent of any such person, you may
11   take into consideration all the facts and circumstances shown
12   by the evidence received in the case concerning that person.
13             In determining a person's intent to distribute
14   controlled substances, you may consider, among other things,
15   the purity of the controlled substance, the quantity of it,
16   the presence or absence of equipment used in the processing or
17   sale of controlled substances, and the presence or absence of
18   large amounts of cash or weapons.
19             For you to find the defendant guilty of the charge
20   in count one, the government must prove beyond a reasonable
21   doubt the third essential element along with the others, but
22   the third one is that the object of the conspiracy was to
23   possess a controlled substance with the intent to distribute
24   the controlled substance as alleged.
25             Now, defendant is charged in count one with




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1    conspiracy to possess with intent to distribute
2    methamphetamine.   You are instructed as a matter of law that
3    methamphetamine is a Schedule II controlled substance.
4              Next, you should turn your attention to the issue of
5    the type and quantity of illegal drugs involved.        As to the
6    drug charged in count one, you must determine if the substance
7    was methamphetamine.    The parties have stipulated or agreed
8    that the material seized in this case was tested by an expert
9    forensic chemist and determined to be, in fact,
10   methamphetamine.
11             You will be provided with a -- you'll have a special
12   verdict sheet that addresses the drug and quantity to be
13   considered if you reach that issue.
14             Now, determining the drug quantity involved in the
15   conspiracy -- or rather, after determining the quantity
16   involved in the conspiracy as a whole, you are also asked to
17   determine the drug quantity attributable to this defendant.
18   In order to determine the quantity of drugs attributable to an
19   individual co-conspirator, you must consider the scope of
20   criminal activity the defendant agreed to jointly undertake as
21   well as the conduct of other co-conspirators that was in
22   furtherance of the conspiracy and reasonably foreseeable to
23   the defendant, if any.
24             The government has the burden of proof on this issue
25   and must establish beyond a reasonable doubt the quantity of




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1    drugs that this particular defendant should be held
2    responsible for.   Your decision as to drug quantity for the
3    defendant must be unanimous.
4              I will now explain the applicable principles in more
5    detail.
6              As I said, you consider the scope of criminal
7    activity the defendant agreed to jointly undertake by becoming
8    a member of the conspiracy.     Because the alleged offense may
9    be worded broadly and include the conduct of many participants
10   over a period of time, the scope of the criminal activity
11   jointly undertaken by defendant is not necessarily the same as
12   the scope of the entire conspiracy.      This makes sense when you
13   consider the different roles that members of the conspiracy
14   may have in any given case.     Generally, in considering what
15   criminal activity an individual defendant may have agreed to
16   jointly undertake, you will look to the scope of the specific
17   conduct and objections -- or excuse me, objectives or goals,
18   aims or purposes embraced by the defendant's agreement.
19             Next you must consider the conduct of defendant's
20   co-conspirators, that is, other members of the conspiracy.
21   Whether any other co-conspirator's actions may be attributable
22   to this defendant depends upon the following two factors:
23             One, whether the co-conspirator's actions were in
24   furtherance of the conspiracy; and
25             Secondly, whether the co-conspirator's actions were




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1    reasonably foreseen as necessary or natural consequences of
2    the co-conspirator's actions.
3              A co-conspirator's actions are considered to be in
4    furtherance of the conspiracy if the actions occurred during
5    the commission of the offense of conviction in preparation for
6    that offense or in the course of attempting to avoid detection
7    or responsibility for that offense.
8              In order to hold an individual defendant or
9    co-conspirator responsible for the acts of other members of
10   the conspiracy, the acts must be reasonably foreseen -- or
11   foreseeable, rather, to the defendant.
12             Acts are reasonably foreseeable if they can be
13   reasonably foreseen as a necessary or natural consequence of
14   the conspiracy.
15             In evaluating whether the actions of another
16   co-conspirator were reasonably foreseeable as a necessary or
17   natural consequence of the conspiracy, you may consider the
18   scope of the agreement between the specific individual
19   defendant and the co-conspirator whose actions or conduct you
20   are considering.
21             Keep in mind that use of the word "reasonably"
22   contemplates that you will consider what a reasonable person
23   in the same or similar circumstances would have understood the
24   natural consequences to be.     In other words, you're not to
25   consider the subjective beliefs of the defendant if you find




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1    them to be unreasonable.
2              The government must show beyond a reasonable doubt
3    that the defendant participated in the alleged conduct
4    knowingly.   That could be referred to as the mental element of
5    this offense.
6              The word "knowingly" as used in these instructions
7    to describe the alleged state of mind of the defendant means
8    that he was conscious and aware of his actions, realized what
9    he was doing or what was happening around him, and did not act
10   because of ignorance, mistake or accident.
11             Knowledge may be proved by defendant's conduct and
12   by all the facts and circumstances surrounding the case.
13             The purpose of adding the element knowingly is to
14   ensure that no one will be convicted due to mistake or
15   accident or other innocent reason.
16             The term "willfully" as used in these instructions
17   to describe the alleged state of mind of the defendant means
18   that he knowingly performed an act or failed to act
19   deliberately and intentionally or on purpose as contrasted
20   with accidentally, carelessly, or unintentionally.
21             Now, evidence has been received in this case with a
22   certain -- excuse me, that a certain person or persons who are
23   alleged to have been co-conspirators with the defendant have
24   done or said things during the existence or life of the
25   alleged conspiracy in order to further or advance its goals.




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1    Such acts and statements of alleged co-conspirators may be
2    considered by you in determining whether or not the government
3    has proven the charges in count one against the defendant.
4              Since these acts may have been performed or these
5    statements may have been made outside the presence of the
6    defendant and even done or said without his knowledge, these
7    acts or statements should be examined by you with particular
8    care before considering them against the defendant.         If you
9    find that the acts and statements were in furtherance of the
10   goals of the conspiracy and you find that the defendant was or
11   became a member of that conspiracy, you may consider these
12   acts or statements as evidence against the defendant.
13             So in summing up as to count one, I charge you that
14   if you find from the evidence beyond a reasonable doubt that
15   on or about the dates alleged, the conspiracy described in
16   count one was an agreement or understanding between two or
17   more persons, That the conspiracy was willfully formed and
18   that it was existing at the time alleged;
19             Second, that at some time during the existence or
20   life of the conspiracy, the defendant knew the purpose of the
21   agreement or understanding and willfully joined the
22   conspiracy;
23             Third, that the object of the conspiracy was to
24   violate the Federal Controlled Substances Act by way of
25   possessing with the intent to distribute a Schedule II




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1    controlled substance, that at least 50 grams of
2    methamphetamine and at least 500 grams of a mixture and
3    substance containing a detectable amount of methamphetamine;
4    and
5              Lastly, that the defendant knew the substance
6    involved in the conspiracy was a controlled substance, and if
7    you so find, then it would be your duty to return a verdict of
8    guilty as to count one.
9              If you do not so find or if you have a reasonable
10   doubt as to one or more of the essential elements of the crime
11   charged, then it would be your duty to give the defendant the
12   benefit of that doubt and return a verdict of not guilty as to
13   count one.
14             Now, count two alleges as follows in the indictment:
15             That on or about December 12, 2012, in Ashe County,
16   within the Western District of North Carolina, and elsewhere,
17   the defendant, during and in relation to a drug trafficking
18   crime, that is, conspiracy to distribute and to possess with
19   intent to distribute methamphetamine, in violation of
20   Title 21, U.S. Code, Section 846 as charged in count one for
21   which he may be prosecuted in a court of the United States,
22   and in furtherance of such drug trafficking crime did possess
23   firearms, and did aid and abet that offense.        And that's
24   alleged in violation of Sections 924(c) and 2.
25             So count two, that is, the charging statute, 924(c),




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1    reads as follows:
2              Any person who, during and in relation to a drug
3    trafficking crime for which the person may be prosecuted in a
4    court of the United States or who, in furtherance of any such
5    crime, possesses a firearm, shall be guilty of an offense
6    against the United States.
7              Now, for purposes of this subsection, the term "drug
8    trafficking crime," means any felony punishable under the
9    Controlled Substances Act and includes the charge of
10   conspiracy in count one of this indictment.
11             Now, Section 2, the aiding and abetting statute, is
12   also alleged in count two.     And Section 2 reads:
13             Whoever aids, abets, counsels, commands, induces or
14   procures its commission is punishable as a principal.
15             So for you to find the defendant guilty of the
16   offense charged in count two, the government must prove the
17   following essential elements or facts beyond a reasonable
18   doubt before there could be a conviction:
19             And it alleges that on or about the date alleged,
20   the defendant committed the underlying drug trafficking crime
21   charged in the first superseding bill of indictment, that
22   would be count one.    So based on that, if you -- if it turns
23   out that you found the defendant not guilty of count one,
24   then, of course, he would be not guilty of count two because
25   he wouldn't have committed the underlying drug trafficking




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1    crime charged in the superseding bill of indictment.         That's
2    the first essential element, that there would have been a
3    conviction under count one.
4                Second, the second element is that defendant
5    possessed one or more firearms in furtherance of that drug
6    trafficking crime.
7                Or that defendant otherwise aided, abetted,
8    counseled, commanded, induced or procured the commission of
9    this offense.    I'll define aiding and abetting for you in just
10   a moment.
11               And lastly, the fourth essential element, that
12   defendant did all such acts knowingly, willfully, and
13   unlawfully.
14               Now, the term "firearm" in this count means any
15   weapon which will be or is designed to or may readily be
16   converted to expel a projectile by the action of an explosion
17   and includes any shotgun.
18               The parties stipulate or agree that the four
19   firearms described in the first superseding bill of indictment
20   and recovered on December 12, 2012, from 148 Ervin Houck
21   Drive, West Jefferson, North Carolina, satisfy the statutory
22   definition of firearm for purposes of count two.
23               Firearms, which is, of course, the plural of that
24   noun, references one or more firearms.       In other words, the
25   jury need only find unanimously that the defendant possessed




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1    one or more firearms in furtherance of the drug trafficking
2    crime described in count one.     However, the jury need not be
3    unanimous as to which firearm or firearms, if any, were so
4    possessed.
5              Now, the term or phrase "in relation to an offense"
6    means that there must be a connection between the defendant,
7    the firearm, and the drug trafficking offense so that the
8    presence of the firearm was not accidental or coincidental,
9    but facilitated the crime by serving some important function
10   or purpose of the criminal activity.
11             Defendant is charged with possession of a firearm in
12   furtherance of a drug trafficking crime.       In order to find the
13   defendant guilty of this charge, the government must prove the
14   following two elements beyond a reasonable doubt:
15             That the defendant knowingly possessed a firearm.
16             And second, that its possession promoted, furthered,
17   advanced, or helped the commission of a drug trafficking
18   crime, specifically the one in count one.
19             In order for defendant to possess a firearm, he need
20   not use, brandish or actively employ the firearm.        Instead,
21   the firearm -- or rather, the defendant need only exercise
22   control or authority over the firearm at a given time.            The
23   mere presence of a firearm at the scene of a drug trafficking
24   crime will not suffice.
25             Further, such possession must be in furtherance of




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1    the alleged crime.    In other words, defendant's possession of
2    a firearm must promote or advance the alleged drug trafficking
3    in some way.
4               Factors that may be considered in determining
5    whether possession is in furtherance of a drug trafficking
6    crime include the type of drug activity that is being
7    conducted, the accessibility of the firearm, the proximity of
8    the firearm to the defendant, the type of weapon, and the time
9    and circumstances under which the firearm is found.
10              The term "drug trafficking crime" means an offense
11   that's a felony and involves the distribution, manufacture or
12   importation of any controlled substances.       The offense
13   described or alleged in count one, to wit, conspiracy to
14   possess with intent to distribute a controlled substance is a
15   drug trafficking crime.
16              The law holds that one who knowingly aids, abets,
17   counsels, commands, induces or procures the commission of a
18   crime is just as criminally responsible as the one who
19   actually commits it.    So to be convicted of count two under
20   this aiding and abetting theory, the government is not
21   required to prove participation at every stage of an illegal
22   venture.   However, the government is required to prove that
23   the defendant knowingly associated himself with and
24   participated in the criminal venture.
25              In other words, you should only find the defendant




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1    guilty on count two if the evidence proved beyond a reasonable
2    doubt that he knowingly participated in the principal criminal
3    intent.
4              Finally, under the law it's not necessary that the
5    principal, that would be the one who actually committed the
6    crime, be convicted for you to find the defendant guilty of
7    aiding and abetting.
8              So summing up on count two, if you find from the
9    evidence beyond a reasonable doubt that on or about the date
10   alleged, the defendant committed the underlying drug
11   trafficking crime charged in the first superseding bill of
12   indictment, that's count one;
13             Second, defendant possessed one or more firearms in
14   furtherance of that drug trafficking crime;
15             Or that defendant otherwise aided, abetted,
16   counseled, commanded, induced or procured the commission of
17   this offense; and
18             Lastly, that the defendant did all such acts
19   knowingly, willfully, and unlawfully, then it would be your
20   duty to return a verdict of guilty as charged in count two.
21             However, if you do not so find or if you have a
22   reasonable doubt as to one or more of the essential elements
23   of the crime charged, then it would be your duty to give the
24   defendant the benefit of that doubt and return a verdict of
25   not guilty.




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1              Now, lastly, the final charge to be considered is
2    numbered 5 in this particular indictment.       It's issue three on
3    your verdict sheet which you'll see when you look at the
4    verdict sheet.   But this final charge alleges that defendant
5    received or possessed a firearm made in violation of the
6    National Firearms Act, which I'll call The Act, and that the
7    specific firearm was not registered as belonging to the
8    defendant as required by law.
9              So count five reads as follows:
10             It alleges that on or about December 12, 2012, in
11   Ashe County, within the Western District of North Carolina,
12   and elsewhere, defendant, Martin Martinez Saldana, that he
13   knowingly received and possessed a firearm, to wit, a
14   Harrington and Richardson Arms 12 gauge shotgun, serial number
15   A62823, made in violation of the provisions of the National
16   Firearms Act and not registered to him in the National
17   Firearms Registration and Transfer Record, in violation of
18   Title 26, United States Code.     And there are four different
19   sections alleged there.
20             Now, one of those sections is 8 -- excuse me,
21   5841(e) which reads:
22             A person possessing a firearm registered as required
23   by this section shall retain proof of registration which shall
24   be made available to the Secretary upon request.
25             And the next two sections provide:




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1              It shall be unlawful for any person to receive or
2    possess a firearm made in violation of the provisions of this
3    chapter or to receive or possess a firearm which is not
4    registered to him in the National Firearms Registration and
5    Transfer Record.
6              So, again, to the essential elements.        If you find
7    the defendant -- or to find him, rather, guilty of the charge
8    in count five, the government must prove these essential
9    elements beyond a reasonable doubt:
10             That on or about the date alleged, first, defendant
11   knew he had a firearm in his possession.
12             Second, the firearm possessed by the defendant was a
13   shotgun made in violation of the provisions of the National
14   Firearms Act, namely, a Harrington and Richardson Arms 12
15   gauge shotgun, serial number A62823, a short-barreled shotgun
16   of less than 18 inches in barrel length.
17             Or that the firearm was -- and this is or.         That the
18   firearm was not registered to him in the National Firearms
19   Registration and Transfer Record.
20             And lastly, that the firearm was in operating
21   condition or could readily have been put into operating
22   condition.
23             You notice the second and third elements are
24   expressed as either/or.    Defendant may be convicted under
25   count five if either element two or three, or both, are




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1    satisfied along with elements one and four.       The verdict sheet
2    will address that issue as you reach it.
3               You'll recall I already defined "possession" and the
4    mental element of "knowingly."      Those definitions apply here
5    as well.
6               Now, for purposes of this offense brought under the
7    National Firearms Act, the term "firearm" means something
8    different in count five than the previous definition I gave
9    you about count two.    So when you deliberate on count two, you
10   use that definition of firearm I already gave you.         But in
11   five you would use the following definition.        It means only
12   certain types of firearms, including a shotgun having a barrel
13   of less than 18 inches in length.
14              The term "shotgun" means a weapon designed or
15   redesigned, made or remade and intended to be fired from the
16   shoulder and designed or redesigned and made or remade to use
17   the energy of an explosive in a fixed shotgun shell to fire
18   through a smooth bore either a number of projectiles, that
19   would be ball shot, or a single projectile for each pull of
20   the trigger.   It shall include any such weapon which may be
21   readily restored to fire a shotgun shell.
22              The National Firearms Registration and Transfer
23   Record as referred to in these instructions is a central
24   registry of certain firearms, including shotguns having a
25   barrel of less than 18 inches of length in the United States




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1    which are not in the possession or under the control of the
2    United States.   The National Firearms and Transfer Record is
3    required by statute to include an identification of the
4    firearm, the date of registration, and an identification and
5    address of the person entitled to possess the firearm.
6              In this case the parties stipulate or agree that the
7    Harrington and Richardson Arms 12 gauge shotgun, serial number
8    A62823 described in the first superseding bill of indictment
9    and recovered on December 12, 2012, from 148 Ervin Houck
10   Drive, West Jefferson, North Carolina, is a short-barreled
11   shotgun of less than 12 inches in barrel length and,
12   therefore, was made in violation of the provisions of the
13   National Firearms Act, and that the Harrington and Richardson
14   Arms 12 gauge shotgun was not registered to defendant Saldana
15   in the National Firearms Registration and Transfer Record as
16   would be required by law if he possessed it.
17             So in summing up on count five, I charge you that if
18   you find from the evidence beyond a reasonable doubt that on
19   or about the date alleged, defendant knowingly possessed the
20   firearm described in count five, namely, that Harrington and
21   Richardson Arms 12 gauge shotgun;
22             Second, that the firearm possessed by defendant was
23   a shotgun made in violation of the provisions of the National
24   Firearms Act, namely, the Harrington and Richardson Arms 12
25   gauge shotgun, a short-barreled shotgun of less than 18 inches




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1    in barrel length, or that the firearm was not registered to
2    the defendant in the National Firearms Registration and
3    Transfer Record; and
4              Lastly, that the firearm was in operating condition
5    or could readily have been put into operating condition, and
6    if you so find, then it would be your duty to return a verdict
7    of guilty as charged in count five.
8              As I already explained, defendant may be convicted
9    under count five if element two or three, or both, are
10   satisfied.
11             However, if you do not so find or if you have a
12   reasonable doubt as to one or more of the essential elements
13   of the crime charged, then it will be your duty to give the
14   defendant the benefit of that doubt and return a verdict of
15   not guilty as to count five.
16             Now, then, you've heard the evidence.        You've heard
17   the arguments of counsel.     It's your duty to remember the
18   evidence whether it was called to your attention or not.          And
19   if your recollection of the evidence should differ from that
20   of one or more of the attorneys, you are to rely solely on
21   your recollection of the evidence in your deliberations.
22             I haven't reviewed the contentions of the parties,
23   but it's your duty to consider along with the evidence also
24   the arguments, the contentions and positions urged by the
25   attorneys in their speeches to you, and any other contention




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1    that arises from the evidence and to weigh them all in the
2    light of your common sense and as best you can determine the
3    truth of this matter.
4              The law, as indeed it should, requires the presiding
5    judge to be impartial.    So you should not assume from anything
6    I may have said or done during the course of the trial that I
7    have any opinion concerning any of the issues before you in
8    this case.
9              I instruct you that a verdict is not a verdict until
10   all 12 jurors agree unanimously as to what your decision shall
11   be.   You may not render a verdict by majority vote or any
12   other voting mechanism aside from a unanimous verdict of 12.
13             The court suggests that as soon as you reach the
14   jury room before beginning deliberations, you select one of
15   your members to serve as the foreperson.       This individual has
16   the same vote as the rest of the jurors but simply serves to
17   preside over the discussions.     Once you begin deliberating, if
18   you need to communicate with the court, the foreperson will
19   send a written message to me by knocking on the door and
20   handing it to the marshal.     However, you're not to tell me how
21   you may stand numerically as to your verdict.        For instance,
22   should you be split in your voting at any particular time, you
23   would not tell me the specific numbers of division in your
24   note.
25             We use a verdict sheet.      It's simply the written




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1    notice of the decision that you reach in this case.         As soon
2    as you reach a verdict, you'll return to the courtroom and
3    your foreperson will, on request, hand the verdict sheet to
4    the clerk.    There are places on the verdict sheet for the
5    foreperson to enter the verdict as to the various counts and
6    certain questions that are asked of you.       And the foreperson
7    will fill it out and sign it and date it.
8                Now, during the trial a number of items were
9    received into evidence as exhibits.      You'll have access to
10   virtually all of the trial exhibits through the JERS program
11   that I believe the clerk has already described to you that is
12   available to you in the jury room during deliberations.
13               During your deliberations you must not communicate
14   with or provide any information to anyone by any means about
15   this case.    As I have said before, you are still bound by my
16   instructions that you not use any electronic device or media,
17   cell phone, smart phone, any of those things, any computer
18   device, or any of the electronic means of communication to
19   communicate any information about this case or conduct any
20   research about it until I have accepted your verdict.
21               Now, if you need a break during your deliberations,
22   you may do that in the jury room, or if it's a smoke break,
23   then outside the jury room escorted by a marshal, but you must
24   not deliberate during a break unless all 12 of you are
25   together.    If not together, then do not talk about the case




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1    until you are all back together.
2              Would either side request a sidebar concerning any
3    of these instructions at this time?
4              MR. KAUFMAN:    No, Your Honor.
5              MR. CANALES:    No, Your Honor.
6              THE COURT:    All right.    Thank you.
7              Members of the jury, you may now take the case and
8    see how you will find.
9              (Jury exited the courtroom at 11:29 a.m.)
10             THE COURT:    I'd ask the alternate if you'll stay
11   with us for a moment.    I have instructions for you.       Do you
12   have any belongings in the jury room?
13             JUROR NO. 14:    Yes.
14             THE COURT:    You can either have them with you or
15   wait until later.    If you want to get them now, you may do
16   that.
17             THE CLERK:    If you want to get a drink and something
18   to eat too, you can do that.
19             THE COURT:    Thank you very much for continuing to be
20   available to us should one of these jurors fall out for one
21   reason or another.    So keep an open mind about the case.        And
22   if we have any other proceedings -- and as we have any more
23   proceedings, we'll bring you right in with the rest of the
24   jurors.
25             JUROR NO. 14:    Okay.    Thank you.




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1                THE COURT:   Thank you.
2                (The alternate exited the courtroom.)
3                THE COURT:   Okay.    The record will show that there
4    were no further requests or objections made about the
5    instructions as given.     We'll be in recess, then, pending a
6    verdict.
7                (Recess pending a verdict at 11:32 a.m.)
8                                      *****
9                (Court resumed at 1:11 p.m.)
10               THE COURT:   All right.       Members of the jury, who
11   will be speaking for the jury, please?
12               JUROR NO. 5:   We didn't come to --
13               THE COURT:   Okay.    I understand the jury wants to go
14   to lunch.
15               JUROR NO. 5:   Yes.
16               THE COURT:   Okay.    So we'll let you do that.       And
17   we'll make it an hour.     But the way it works is -- that would
18   be -- let's see, it's 1:15.       That would make it 2:15.    But if
19   all of you are back in the jury room, whenever that is, if
20   it's, you know, 15 minutes short of an hour or whatever it is,
21   start deliberating.      You won't need to come back into court
22   and hear anything further from us.         Thank you very much.    Stay
23   dry.
24               (Jury exited the courtroom.)
25               (Lunch recess at 1:20 p.m.)




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1                                     *****
2               (Court resumed at 2:46 p.m.)
3               THE COURT:   Okay.    Did the jury announce that it has
4    a verdict?
5               THE CSO:   They did, Your Honor.
6               THE COURT:   Are the parties ready to receive the
7    verdict?
8               MR. KAUFMAN:   Yes, Your Honor.
9               MR. CANALES:   Yes, Your Honor.
10              MR. FORRESTER:    Yes, Your Honor.
11              THE COURT:   May we have the jury.
12              (Jury entered the courtroom.)
13              THE COURT:   All right.       The marshal tells me the
14   jury has a verdict; is that correct?
15              JUROR NO. 5:   Yes.
16              THE COURT:   And did you enter the verdict on the
17   verdict sheet and sign it and date it?
18              JUROR NO. 5:   Yes.
19              THE COURT:   All right.       Was it unanimous as to all
20   the answers you gave on the verdict sheet?
21              JUROR NO. 5:   Yes, sir.
22              THE COURT:   All right.       Thank you.
23              Madam Clerk.
24              (The verdict sheet was tendered to the court.)
25              THE COURT:   All right.       Madam Clerk, I would ask you




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1    to publish the verdict.
2               Members of the jury, please listen up as the clerk
3    announces the verdict because in just a moment you'll be asked
4    if that is and remains your verdict.
5               THE CLERK:    Members of the jury, you have found as
6    follows:
7               As to defendant, Martin Martinez Saldana, one --
8    count one.   As to count one, we find the defendant, Martin
9    Martinez Saldana, guilty.
10              1A, concerning the issue of quantity only, do you,
11   the jury, find that the government has proven beyond a
12   reasonable doubt that the quantity of actual methamphetamine,
13   its salts, isomers, and salts of its isomers which is
14   attributable to defendant is 50 grams or more?        Yes.
15              1C, concerning the issue of quantity only, do you,
16   the jury, find that the government has proven beyond a
17   reasonable doubt that the quantity of a mixture and substance
18   containing a detectable amount of methamphetamine, its salts,
19   isomers or salts of its isomers which is attributable to the
20   defendant is less than 500 grams but at least 50 grams?           Yes.
21              Count two.    As to count two, we, the jury, find the
22   defendant, Martin Martinez Saldana, not guilty of possession
23   of one or more firearms in furtherance of a drug trafficking
24   crime.
25              Count five.    As to count five and the charge that




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1    defendant, Martin Martinez Saldana, was in receipt or
2    possession of a firearm made in violation of the National
3    Firearms Act, we, the jury, find the defendant guilty.
4                3B, as to count five and the charge that the
5    defendant, Martin Martinez Saldana, was in receipt or
6    possession of a firearm not registered as belonging to the
7    defendant in the National Firearms Registration and Transfer
8    Record, we, the jury, find the defendant guilty.
9                THE COURT:   Thank you, Madam Clerk.
10               Would there be anything for the jury before they are
11   released?
12               THE CLERK:   Do you want me to poll the jury?
13               THE COURT:   Yes, ma'am.
14               THE CLERK:   Juror number 1, was this your verdict;
15   is this still your verdict?
16               JUROR NO. 1:   Yes, ma'am.
17               THE CLERK:   Juror number 2, was this your verdict;
18   is this still your verdict?
19               JUROR NO. 2:   Yes.
20               THE CLERK:   Juror number 3, was this your verdict;
21   is this still your verdict?
22               JUROR NO. 3:   Yes.
23               THE CLERK:   Juror number 4, was this your verdict;
24   is this still your verdict?
25               JUROR NO. 4:   Yes.




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1              THE CLERK:    Juror number 5, was this your verdict;
2    is this still your verdict?
3              JUROR NO. 5:    Yes.
4              THE CLERK:    Juror number 6, was this your verdict;
5    is this still your verdict?
6              JUROR NO. 6:    Yes.
7              THE CLERK:    Juror number 7 --
8              JUROR NO. 7:    Yes.
9              THE CLERK:    -- was this your verdict; is this still
10   your verdict?
11             Juror number 8, was this your verdict; is this still
12   your verdict?
13             JUROR NO. 8:    Yes.
14             THE CLERK:    Juror number 9, was this your verdict;
15   is this still your verdict?
16             JUROR NO. 9    yes.
17             THE CLERK:    Juror number 10, was this your verdict;
18   is this still your verdict?
19             JUROR NO. 10:    Yes.
20             THE CLERK:    Juror number 11, was this your verdict;
21   is this still your verdict?
22             JUROR NO. 11:    Yes.
23             THE CLERK:    Juror number 12, was this your verdict;
24   is this still your verdict?
25             JUROR NO. 12:    Yes.




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1              THE COURT:    Thank you, Madam Clerk.
2              Anything further as far as counsel are concerned?
3              MR. KAUFMAN:    No, Your Honor.
4              MR. FORRESTER:     No, Your Honor.
5              THE COURT:    Members of the jury, I want to thank you
6    very much for your participation in the case.        Also, the
7    alternate who was ready and available had they been needed to
8    come in and substitute for a juror.
9              If you have any questions about your jury service,
10   feel free to stop by the clerk's office on the third floor as
11   you go out or call the telephone number that you've been
12   given.
13             Again, with our appreciation, you are free to go at
14   this time.
15             (Jury exited the courtroom.)
16             THE COURT:    Okay.   The court will propose to go
17   ahead and look at the forfeiture issue.
18             MR. CANALES:    Yes, Your Honor.
19             THE COURT:    In reviewing some of the law that
20   pertains to this, the defendant has consented that the court
21   decide the issue of forfeiture.      It appears that the
22   properties the government seeks to forfeit are four parcels of
23   real property and I take it the weapons and ammunition; is
24   that correct?
25             (Counsel and the agent conferred.)




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1              MR. KAUFMAN:    Your Honor, I'm not a hundred percent
2    sure whether the administrative process has been completed for
3    the firearms so in an abundance of caution, I would ask that
4    the court make a ruling on that as well.       I believe that the
5    court may have made that ruling with regard to co-defendants
6    who have already entered their consent order of judgment of
7    forfeiture.
8              With regard to the four properties, I'd note that we
9    have that revised bill of particulars.       That is document 67.
10   My understanding from AUSA Tom Ascik is that I'm supposed to
11   also submit as evidence for the court to consider the actual
12   deeds for the properties.     And if I may do so, I think that
13   our last exhibit number was 3 -- Ms. Johnson?
14             THE CLERK:    33, I think -- no, it's 35.
15             MR. KAUFMAN:    35.    So I'll be marking the first deed
16   as 36 which is for 148 and 178 Ervin Houck Road -- I'm sorry,
17   Ervin Houck Drive.    The next one will be Exhibit 37 which is
18   for 212 Ervin Houck Drive.      And the last one is 38 which will
19   be for that property that during the trial, Your Honor, was
20   referred to as PIN 131.    The full identification is property
21   ID number 13194-27.
22             So, Your Honor, we'd move to admit for Your Honor's
23   consideration Government's Exhibit 36 through 38.
24             MR. CANALES:    Your Honor, may I address the court --
25             THE COURT:    Yes, sir.




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1              MR. CANALES:    -- please?
2              Judge, I believe the government is asking this
3    honorable judge to make a decision as to the forfeiture now.
4    I would ask the court to defer any ruling on the forfeiture
5    until the date of sentencing.     That's the common practice that
6    I've been exposed to where, you know, usually any issue about
7    forfeiture is done in conjunction with the sentencing, Your
8    Honor.   I mean, it's all going to be done.
9              I would ask the court to, if you could -- and again,
10   I'm working off of memory, Judge.      My understanding is that
11   the notice of forfeiture was as to the real properties but not
12   as to the weapons.    That's my understanding.      And if I'm
13   mistaken, I would like the government to correct me.         But I
14   believe that the notice that my client received for forfeiture
15   was only as to the properties, not the weapons.        In that case,
16   Judge, then my client has to be properly served or notified of
17   any forfeiture proceedings having to do with the weapons, Your
18   Honor.
19             THE COURT:    Well, when you say your client received
20   notice, are you referring to page 3 of the bill of indictment?
21             MR. CANALES:    Well, he received -- well -- that's
22   correct, Judge.   You're right.     But I -- I was -- there was a
23   separate proceeding on the real estate issues.        I guess that's
24   the distinction I was trying to make, Your Honor.
25             THE COURT:    Well, you understand that the evidence




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1    from trial is before the court.
2              MR. CANALES:    Yes, sir.
3              THE COURT:    And now we have Government's Exhibits
4    36, 37, and 38 before the court.      The parties could offer
5    testimony if appropriate.     But you understand that third-party
6    interests in the property are still protected even if the
7    court were to find probable cause and order forfeiture as to
8    the defendant's interest.     You understand that.
9              MR. CANALES:    Yes, Your Honor.     I just thought that
10   maybe we could do everything on sentencing day.        Obviously,
11   the court's --
12             THE COURT:    Well, any objection by the government?
13             MR. KAUFMAN:    We don't have an objection on the
14   timing issue, Your Honor.
15             THE COURT:    All right.    That would give you an
16   opportunity to consider your presentation in that regard.
17             MR. CANALES:    Yes, Your Honor.
18             THE COURT:    But I would note for the record that the
19   property description as contained in the notice of forfeiture
20   and finding of probable cause passed on by the grand jury on
21   page 4 of the indictment is fairly inclusive.
22             MR. CANALES:    Yes, Your Honor.
23             THE COURT:    And I would further mention that the --
24   some of the law that appears to apply would be that the
25   property forfeitable would be that which was used or intended




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1    to be used to commit or facilitate the violation in count one.
2    That the government needs to prove its case by the
3    preponderance of the evidence.      That the government must
4    establish a nexus between the property for which it is seeking
5    forfeiture and the crime in count one.       And the court may
6    consider any evidence offered by the parties in deciding the
7    issue.   That third-party interests, that is, anyone other than
8    the defendant who may have an interest in the property would
9    have such person's interest to consider at a later time; and
10   likewise, as to the issue of excessive punishment if that is
11   properly raised by the defendant.
12             And that certain law of the circuit provides that
13   the substantial connection of the crime to the property that
14   is required is not a particularly high hurdle according to
15   cases cited by the government.      And that, moreover, property
16   that is accused in any manner or part may warrant forfeiture
17   of the whole.   And that's all I would say about that at this
18   point.
19             Okay.   Now, speaking to Mr. Saldana.       The jury
20   having decided as it did in finding you guilty on counts one
21   and five of the bill of indictment, the next proceeding that
22   would take place in the matter would be the sentencing
23   hearing, and forfeiture will be taken up at that time and
24   sentencing.   At least 35 days before the time of that hearing,
25   you will receive a copy of the presentence report as will your




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1    attorneys.   And moreover, you'll be given an opportunity to
2    interview with the probation officer, and your attorneys may
3    be with you if such an interview takes place if you wish.           But
4    the idea is that you will be able to look over the presentence
5    report and make sure it's accurate.      And you may object to it
6    if it is not.   And you may offer evidence at the time of the
7    sentencing hearing in support of any objections to the
8    presentence report.
9              Anything further from the parties that you would
10   like the court to address at this point?
11             MR. KAUFMAN:    No, Your Honor.
12             MR. FORRESTER:     Well, maybe not address, but ask for
13   the court's indulgence.
14             Your Honor, can I get read the -- I think it was 1C
15   again or maybe even just a copy of the verdict form?         I know I
16   can get it online, but my memory, the responsibility was 50 to
17   under 500 grams if memory serves me correct.        That's more of a
18   curiosity.
19             THE COURT:    Why don't you just come up and take a
20   look at the original.
21             MR. CANALES:    May I too, Judge?
22             THE CLERK:    It was 1E which was -- 1E between
23   500 grams but at least 50 grams, yes, is what they said.          Less
24   than 50 grams -- less than 500 grams but at least 50 grams.
25             MR. FORRESTER:     May I approach?




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1                THE CLERK:   The top of page 3 is what they came up
2    with.   They said yes to that one.
3                THE COURT:   Show that, if you would, to the defense.
4                MR. CANALES:   We just didn't hear right, Judge.
5                MR. FORRESTER:   Basically 50 to 500.
6                THE CLERK:   Right.
7                MR. FORRESTER:   Less than 500.
8                THE CLERK:   Less than 500 but greater -- at least
9    50 grams.
10               MR. FORRESTER:   Thank you.
11               THE COURT:   Okay.    At the time of sentencing,
12   Mr. Saldana, you'll have an opportunity to speak to the court
13   about the matter of an appropriate sentence as will your
14   attorneys, of course.
15               We'll be in adjournment.
16               (End of proceedings at 3:08 p.m.)
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1    UNITED STATES DISTRICT COURT
2    WESTERN DISTRICT OF NORTH CAROLINA
3    CERTIFICATE OF REPORTER
4
5
6              I, Cheryl A. Nuccio, Federal Official Realtime Court
7    Reporter, in and for the United States District Court for the
8    Western District of North Carolina, do hereby certify that
9    pursuant to Section 753, Title 28, United States Code, that
10   the foregoing is a true and correct transcript of the
11   stenographically reported proceedings held in the
12   above-entitled matter and that the transcript page format is
13   in conformance with the regulations of the Judicial Conference
14   of the United States.
15
16             Dated this 10th day of August 2015.
17
18
19                              s/Cheryl A. Nuccio
                                _________________________
20                              Cheryl A. Nuccio, RMR-CRR
                                Official Court Reporter
21
22
23
24
25




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